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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

                                               CASE NO: 6:20-cv-00831-RBD-GJK

 RAEANN BAYLESS,

       Plaintiff,

 v.

 BOSTON SCIENTIFIC CORPORATION,
 and COLOPLAST CORP.,

       Defendants.
 _____________________________________/

            PLAINTIFF’S UNOPPOSED MOTION TO ALLOW
      ELECTRONIC EQUIPMENT IN COURTROOM FOR USE AT TRIAL

       Plaintiff, by and through undersigned counsel, files this Motion to Allow

 Electronic Equipment in Courtroom for Use at Trial set in this matter for the period

 of June 1, 2021 through June 15, 2021, and as grounds therefore, state as follows:

   Owner / Role                           Equipment
   Bryan Hofeld (Plaintiff’s              Laptop; Cell Phone
   Attorney)
   Jeffrey Haberman (Plaintiff’s          Laptop; Cell Phone
   Attorney)
   Sarah Schultz (Plaintiff’s             Laptop; Cell Phone
   Attorney)
   Cara Sillato (Plaintiff’s              Laptop; Cell Phone
   Paralegal)
   Akera Brown (Plaintiff’s               Laptop; Cell Phone
   Paralegal)
   Stephen Manno (Plaintiff’s             2 Laptops; 1 Elmo Document
   Technical support)                     Camera; 1 Matrix VGA Switcher; 4
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   Owner / Role                               Equipment
                                              19-inch Monitors; 1 32-inch
                                              Monitor; 1 Epson Projector; 1
                                              Projection Screen; 1 Audio Speaker;
                                              1 Printer; 1 Cell Phone; 1 Tablet
                                              Computer; 2 Tablets; 2 Laser
                                              Pointers; 2 Remote Controls; 1
                                              Portable Hard Drive; 2 Computer
                                              Mouse; 1 Keyboard; 2 Hand Carts; 1
                                              Headphones; 1 Wireless Earbuds;
                                              Wires; Gaffer Tape; Cords; Power
                                              Strips; 1 Verizon WiFi Hot Spot; 1
                                              Webcam; 1 USB Microphone


       To the extent practicable, the undersigned requests further permission for the

 above-referenced individuals to bring such equipment into the Courthouse prior to

 trial, at a time convenient for the Court, so that the above-named individuals may test

 such equipment to ensure it will be compatible with existing equipment at the

 Courthouse.

                           Local Rule 3.01(g) Certification

       Pursuant to Local Rule 3.01(g)(2), undersigned counsel certifies that counsel for

 Plaintiff conferred with counsel for Defendants via phone conference, and neither

 party opposes the relief requested herein.

       WHEREFORE, Plaintiff respectfully requests that the Court enter an Order

 permitting such electronic equipment as identified above to be brought into the

 Courthouse on June 1, 2021 through June 15, 2021.

 DATED: April 26, 2021                   Respectfully submitted,

                                         /s/ Jeffrey L. Haberman
                                         Jeffrey L. Haberman, Esq.
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                                        SCHLESINGER LAW OFFICES, P.A.
                                        1212 SE Third Avenue,
                                        Fort Lauderdale, FL 33316
                                        Telephone: (954) 320-9507
                                        jhaberman@schlesingerlaw.com
                                        Attorneys for Plaintiffs




                           CERTIFICATE OF SERVICE
       I hereby certify that on April 26, 2021, I served a copy of the foregoing on the

 Clerk of Court by CM/ECF, which will provide automatic notification to all parties

 and counsel of record.

                                               By: /s/Jeffrey L. Haberman
                                                  Jeffrey L. Haberman




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